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 1
                                                    THE HONORABLE JOHN C. COUGHENOUR
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   TWIN CITY FIRE INSURANCE CO.,                      Case No. 2:20-cv-01623-JCC
10                             Plaintiff,               DECLARATION OF GREG VAN
                                                        HOUTEN IN SUPPORT OF
11             v.                                       DEFENDANT LUNDBERG LLC’S
                                                        RESPONSE TO PLAINTIFF TWIN CITY
12                                                      FIRE INSURANCE CO.’S MOTION FOR
     LUNDBERG, LLC,                                     PARTIAL SUMMARY JUDGMENT
13                                                      [DKT. 24]
                               Defendant.
14

15   I, Greg Van Houten, being duly sworn, upon oath state as follows:
16            1.        My name is Greg Van Houten. I am over twenty-one years of age, have never been
17   convicted of a felony, and am fully competent to make this declaration. All the statements in this
18   declaration are based on my personal knowledge and are true and correct.
19            2.        I am an Associate with the law firm of Haynes and Boone, LLP, attorneys for
20   Defendant Lundberg, LLC (“Lundberg”) in the instant insurance coverage action.
21            3.        During March 2021, Lundberg provided Twin City with invoices produced by
22   Packaging Corporation of America (“PCA”) in its action against Lundberg (the “PCA Action”).
23            4.        Lundberg sent Twin City those invoices because Twin City acknowledged at the
24   time that extrinsic evidence can be relevant to an insurer’s duty to defend under Washington law.
25            5.        On March 26, 2021, Lundberg summarized the relevant extrinsic evidence in a
26   PowerPoint presentation that it shared with Twin City during a Zoom meeting. A true and correct
27
     251608.0079/8760237.1
     DECL. OF GREG VAN HOUTEN IN SUPP. OF DEF.                            LANE POWELL PC
                                                                   1420 FIFTH AVENUE, SUITE 4200
     LUNDBERG, LLC’S RESP. TO PL. TWIN CITY’S
                                                                            P.O. BOX 91302
     MOT. FOR PARTIAL SUMM. J.                                    SEATTLE, WASHINGTON 98111-9402
     (2:20-cv-01623-JCC) - 1                                        206.223.7000 FAX: 206.223.7107
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 1   copy of that PowerPoint presentation, which it later e-mailed to Twin City’s outside counsel, is
 2   attached hereto as Exhibit A-1.
 3            6.        During the Zoom meeting, Lundberg noted and emphasized that courts considering
 4   very similar factual records have found a duty to defend under Washington law.
 5

 6            I declare under penalty of perjury that the foregoing is true and correct.
 7

 8   Dated: November 2, 2021
            Washington, D.C.
 9

10                                                                   /s/ Greg Van Houten
11                                                                       Greg Van Houten

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     251608.0079/8760237.1
     DECL. OF GREG VAN HOUTEN IN SUPP. OF DEF.                              LANE POWELL PC
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                                                                              P.O. BOX 91302
     MOT. FOR PARTIAL SUMM. J.                                      SEATTLE, WASHINGTON 98111-9402
     (2:20-cv-01623-JCC) - 2                                          206.223.7000 FAX: 206.223.7107
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                            EXHIBIT A-1




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            Twin City v. Lundberg
            Presentation for March 26, 2021 Meeting via Zoom




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            The Duty to Defend Standard in Washington
             “[T]he duty to defend arises when the policy
              could conceivably cover allegations in a complaint.” Xia v.
              ProBuilders Specialty Ins. Co., 188 Wash. 2d 171, 182 (2017)
              (emphasis in original).
             “[A]n insurer must defend a complaint against its insured until it is
              clear that the claim is not covered.” Id.
             “If there is any reasonable interpretation of the facts or the law
              that could result in coverage, the insurer must defend.” Id.
              (emphasis added).
             “An insurer acts in bad faith if the refusal to defend was
              unreasonable, frivolous, or unfounded.” Id.
             “[A]n insurer takes a great risk when it refuses to defend on the
              basis that there is no reasonable interpretation of the facts or the
              law that could result in coverage.” Id.


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            The Underlying Amended Complaint




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            The Consideration of Extrinsic Evidence
             “There are two exceptions to the rule that the duty to defend must be
              determined only from the complaint, and both the exceptions favor
              the insured.” Woo v. Fireman’s Fund, 161 Wash. 2d 43, 53–54
              (2007).


                      1. “First, if it is not clear from the face of the complaint that the policy
                             provides coverage, but coverage could exist, the
                             insurer must investigate and give the insured the benefit of the doubt
                             that the insurer has a duty to defend.” Id. (emphasis in original).


                      2. “Second, if the allegations in the complaint conflict with facts known to
                             or readily ascertainable by the insurer, or if the allegations are
                             ambiguous or inadequate, facts outside the complaint may be
                             considered.” Id. (cleaned up).




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            PCA’s First Document Production: Background
             323 documents and 5,376 pages
             Mostly invoices from (a) original installations, and (b) replacement.
                       PCA alleges the replacement process began in early 2018.




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            Focus on Wallula and International Falls




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            Replacement Invoice No. 1: Wallula




                                                    PCA-Lundberg_0000004497




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        7




            Replacement Invoice No. 1: Wallula, cont’d.

            Next page of invoice…




                                                    PCA-Lundberg_0000004498




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             Lundberg Did Not Provide Piping at Wallula




                                                       PCA-Lundberg_0000001315




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             Replacement Invoice No. 2: International Falls




                                                  PCA-Lundberg_0000002103




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             Replacement Invoice No. 2: International Falls, cont’d




                                                 PCA-Lundberg_0000002103



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             Lundberg Did Not Provide Piping at International Falls




                                                 PCA-Lundberg_0000001006



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             Lundberg Did Not Provide Piping at International Falls




                                                 PCA-Lundberg_0000001008



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             Lundberg Did Not Provide Piping at International Falls




                                                  PCA-Lundberg_0000001013




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               Lundberg Did Not Provide Piping at International Falls




                                                      PCA-Lundberg_0000001019


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             Lundberg Did Not Provide Piping at International Falls




                                                      PCA-Lundberg_0000001030




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             Indian Harbor Ins. Co. v. Transform LLC,
             No. 09-cv-1120, 2010 WL 3584412 (W.D. Wash Sept. 8, 2010)

              Policyholder supplied condominium modules to developer.
              Developer knit piping and electrical through the modules.
              The modules were defective. To repair and replace them, the
               developer had to tear out its own work, including the piping/electrical.
              Developer sued the policyholder for the costs to repair and replace.
              Insurer filed a DJ, raising the impaired property exclusion.
              Court refused to apply the exclusion because the developer’s “rip and
               tear damages caused physical injury to tangible property.”
              Court stated that “[s]ince physical damage to [the developer’s] work
               resulted from [the policyholder’s] faulty workmanship, the exclusion is
               not applicable.”




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             Phoenix Ins. Co. v. Diamond Plastics Corp.,
             No. 19-cv-1983, 2020 WL 5993909 (W.D. Wash Oct. 9, 2020)

               Judge Coughenour.
               Policyholder supplied pipe for construction job.
               Piping failed. In the process of removing the defective pipe,
                “other property at the site was physically damaged.”
               Insurer filed DJ, raising the impaired property exclusion.
               Judge Coughenour refused to apply the exclusion because “the
                project site was physically damaged during the rip and tear
                process used to remove the pipe.”
               Although insurer raised several arguments, Judge Coughenour
                concluded that a “reasonable interpretation could result in
                coverage” and therefore found the insurer had a duty to defend.




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             Conclusion and Questions
                   PCA seeks damages for replacing the allegedly defective flame arresters.
                   Those damages include the costs of cutting piping at Wallula and International
                    Falls.
                   Lundberg did not provide piping at Wallula and International Falls (neither
                    were “turnkey” installations).
                   Thus, like in Indian Harbor and Diamond Plastics, the underlying plaintiff
                    (here, PCA) seeks redress for rip and tear damages to tangible property not
                    supplied by the policyholder (here, Lundberg).
                   It follows that, like in those cases, there is a continued duty to defend.




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